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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

UNITED STATES OF AMERICA,                            )
                                                     )
                                Plaintiff,           )
                                                     )   No. 15 C 01698
                        v.                           )
                                                     )   Judge St. Eve
MICHAEL PAGNONI,                                     )
                                                     )
                                Defendant.           )

                 STIPULATION FOR ENTRY OF CONSENT JUDGMENT

       It is hereby stipulated and agreed by and between the United States and defendant, Michael

Pagnoni, that it is the intention of the parties to seek entry of a consent judgment order by this

court, and in support the parties state:

       1.      The court has jurisdiction over the subject matter of this lawsuit pursuant to 28

U.S.C. §§ 1331 and 1345.

       2.      The court has personal jurisdiction over Michael Pagnoni, who acknowledges

receipt of a copy of the complaint in this action.

       3.        Michael Pagnoni filed his answer and affirmative defense on August 13, 2015, in

response to the United States’ complaint (Dkt. No. 1), which alleges nonpayment of three student

loans. The parties have worked diligently to resolve this action by agreement rather than the

United States moving for summary judgment.

       5.      Michael Pagnoni acknowledges his liability to the United States on the student

loans set out in the complaint and agrees to the entry of judgment in favor of the United States the
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amount of $218,203.91, as more fully detailed below, plus interest to accrue until the date of entry

of judgment.

                       Count I:       Principle:     $27,992.53
                                      Interest:      $14,888.16
                                      Total:         $42,880.69

                       Count II:      Principle:     $92,196.85
                                      Interest:      $50,045.22
                                      Total:         $142,242.07

                       Count III:     Principle:     $22,953.48
                                      Interest:      $10,127.67
                                      Total:         $33,081.15

                       Total Indebtedness:           $218,203.91

         6.     The entered judgment shall accrue interest at the statutory post-judgment interest

rate under 28 U.S.C. 1961.

         7.     The parties further agree that after entry of judgment, Michael Pagnoni shall begin

submitting payments to the United States in the amount of $55 per month on or before the first of

each month.

         8.     Payments on the judgment debt shall be by certified bank check or personal check,

made payable to Department of Justice and mailed to the U.S. Department of Justice, Nationwide

Central Intake Facility, P.O. Box 790363, St. Louis, MO 63179-0363. An account number to be

indicated in the future and “Michael Pagnoni” shall be written on each remittance.

         9.     It is understood that this agreement does not limit the government’s enforcement of

the judgment, nor does it limit the government’s ability to use other means to collect the judgment

debt.

         10.    Michael Pagnoni understands that the U.S. Attorney’s office will place the

defendant on the Treasury Offset Program until the judgment is paid in full.
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        11.        Michael Pagnoni agrees to submit a financial statement and copies of federal and

state income tax returns upon the request of the United States Attorney’s Office until the judgment

is paid in full.

        12.        Michael Pagnoni agrees to notify the United States Attorney’s Office within thirty

days of any change of address or employment until the judgment debt is paid in full.



                                                 Respectfully submitted,


MICHAEL PAGNONI                                  ZACHARY T. FARDON
                                                 United States Attorney

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